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                             Attorneys for Receiver
                      8      THOMAS A. SEAMAN
                      9                                  UNITED STATES DISTRICT COURT
                     10                            SOUTHERN DISTRICT OF CALIFORNIA
                     11
                     12 BRUCE J. STANIFORTH,,                          Case No. 3:14-cv-01899 GPC (JLB)
                     13                     Plaintiff,                 JOINT STATUS REPORT RE:
                                                                       RECEIVERSHIP ACTION STYLED
                     14               v.                               SEC V. TOTAL WEALTH
                                                                       MANAGEMENT, INC., ET AL.
                     15 TOTAL WEALTH MANAGEMENT,
                        INC.; et al.,                                  Judge: Hon. Gonzalo P. Curiel
                     16
                                      Defendants.
                     17
                     18               TO THIS HONORABLE COURT, ALL PARTIES, AND THEIR
                     19 COUNSEL OF RECORD:
                     20               PLEASE TAKE NOTICE THAT, in accordance with this Court's
                     21 November 30, 2017 order directing the parties to file a status report regarding the
                     22 status of the related Securities and Exchange enforcement and receivership action
                     23 styled SEC v. Total Wealth Management, Inc., et al., USDC, S.D. Cal. Case No. 15-
                     24 cv-226 BAS (DHB) (the "Receivership Case"), Thomas A. Seaman (the "Receiver")
                     25 and plaintiff Bruce J. Staniforth, hereby submit the following Joint Status Report:
                     26
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                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP                                                             3:14-cv-01889-GPC (JLB)
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                      1 I.            RELEVANT STATUS.
                      2               A.    Status Of Receivership Case And Litigation Stay.
                      3               The Receivership Case remains pending before the Honorable Cynthia
                      4 Bashant, and the litigation stay imposed pursuant to Judge Bashant's February 12,
                      5 2015 "(1) Preliminary Injunction, Appointment of a Permanent Receiver, and
                      6 Related Orders; and (2) Order Vacating Hearing on Preliminary Injunction" (the
                      7 "Appointment Order"1) (Receivership Case Dkt. No. 8), remains in place. This
                      8 Court applied the litigation stay to the of the above-entitled action on May 12, 2015,
                      9 except as to non-receivership Defendants. (Dkt. No. 57.)
                     10               B.    Receiver's Asset Recovery Efforts.
                     11               As reflected in the Receiver's recently submitted Sixth Interim Report and
                     12 Petition for Instructions (Receivership Case Dkt. No. 204), the Receiver is presently
                     13 holding approximately $3.4 million for the benefit and administration of the
                     14 Receivership Entities, but continues in his efforts to recover additional funds,
                     15 largely via two separate litigation matters.
                     16               The first is an action against Private Placement Capital Notes II, LLC and its
                     17 principal, Anthony Hartman (collectively, "PPCN"), seeking the return of more than
                     18 $20 million in investor funds invested in PPCN, plus interest and other fees. The
                     19 action is styled Seaman v. Private Placement Capital Notes II, LLC, et al., USDC,
                     20 SD Cal. Case No. 16-cv-0578 BEN (DHB) (the "PPCN Action"). The PPCN Action
                     21 is currently before a Ninth Circuit mediator, and a resolution is expected within the
                     22 next sixty (60) days.
                     23               The second is a recently settled malpractice action styled Seaman v. Lively, et
                     24 al., San Diego Superior Court Case No. 37-2016-00003644-CU-PN-CTL (the
                     25
                     26     1
                                 As reflected in prior submissions to this Court, the litigation stay imposed by the
                     27          Appointment Order applies only to those entities placed into receivership,
                                 including Total Wealth Management, Inc. and its subsidiaries and affiliated,
                     28          including but not limited to Altus Capital Management, LLC (collectively, the
       LAW OFFICES
                                 "Receivership Entities").
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   Mallory & Natsis LLP                                                                    3:14-cv-01889-GPC (JLB)
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                      1 "Malpractice Action"), in which the Receiver alleged that certain pre-receivership
                      2 counsel caused, aided, or abetted the Receivership Entities' fraud, in the form of
                      3 failure to disclose the existence of revenue sharing agreements and attendant
                      4 conflicts of interest. The Receiver has entered into a Court-approved, confidential
                      5 settlement with the defendants to the Malpractice Action, as well as with Defendant
                      6 Jacob Cooper (who was prosecuting a similar action) in connection with the
                      7 Malpractice Action. In April 2018, the Receiver filed a Motion for Order Awarding
                      8 Settlement Funds seeking payment of the proceeds paid pursuant to the settlement
                      9 ("Motion for Settlement Funds", Receivership Case Dkt. No. 208-1). Briefing on
                     10 the Motion for Settlement Funds is completed and there will not be a hearing. The
                     11 Receiver is awaiting the Court's order.
                     12               C.    The Claims Process.
                     13               In November 2016, the Receiver developed and proposed summary claims
                     14 procedures whereby investors in and creditors of the Receivership Entities could
                     15 submit claims for repayment against the Receivership Entities. (Receivership Case
                     16 Dkt. No. 124.) On February 27, 2017, the Court approved the Receiver's proposed
                     17 claims procedures, and established a claims bar date of May 8, 2017. (Receivership
                     18 Case Dkt. No. 137.) The Receiver has completed his processing of approximately
                     19 300 claims, and has determined a proposed treatment of the claims, which has been
                     20 statistically validated. He expects to file an omnibus motion for an order approving
                     21 his recommended treatment of claims within the next forty-five (45) days. Plaintiff
                     22 Staniforth submitted a timely claim.
                     23 \\\
                     24 \\\
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   Mallory & Natsis LLP                                                             3:14-cv-01889-GPC (JLB)
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                      1 II.           CONCLUSION.
                      2               For the foregoing reasons, and particularly given the continued pendency of
                      3 the Receivership Case, the Receiver's continuing asset recovery efforts, and the
                      4 pending claims process, the Receiver respectfully requests that this Court continue
                      5 its stay of the above-captioned matter pending further updates from the Receiver, at
                      6 least as to the Receivership Entities. Plaintiff Staniforth has no objection.
                      7
                      8 Dated: June 28, 2018                            ALLEN MATKINS LECK GAMBLE
                                                                         MALLORY & NATSIS LLP
                      9                                                 DAVID R. ZARO
                                                                        JOSHUA A. DEL CASTILLO
                     10                                                 MELISSA K. ZONNE
                     11
                                                                        By:        /s/    Joshua A. del Castillo
                     12                                                       JOSHUA A. DEL CASTILLO
                                                                              Attorneys for Receiver
                     13                                                       THOMAS A. SEAMAN
                     14
                            Dated: June 28, 2018                        CROSS LAW APC
                     15                                                 OLEG CROSS
                     16
                                                                        By:        /s/    Oleg Cross
                     17                                                       OLEG CROSS
                                                                              Attorneys for Plaintiff
                     18                                                       BRUCE J. STANIFORTH
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       LAW OFFICES
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   Mallory & Natsis LLP                                                                   3:14-cv-01889-GPC (JLB)
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